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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

ERIC HOWARD,

                                       Appellant,                        Case # 18-CV-6779-FPG

v.
                                                                         DECISION AND ORDER
MIA HODGINS,

                                       Appellee.


                                         INTRODUCTION

       Appellant Eric Howard brings this appeal challenging the order of the Honorable Paul R.

Warren, Bankruptcy Judge, denying his motion to avoid liens. ECF No. 1. Appellee Mia Hodgins

is the creditor and holder of the judgment liens at issue. Having reviewed the record and the

parties’ submissions, the Court concludes that oral argument is unnecessary. See Fed. R. Bankr.

P. 8019(b)(3). For the following reasons, Judge Warren’s order is AFFIRMED. 1

                                       LEGAL STANDARD

       The district court has jurisdiction to hear final and interlocutory appeals from bankruptcy

court orders. See 28 U.S.C. § 158(a). The district court reviews findings of fact under the “clear

error” standard and conclusions of law de novo. In re Charter Comm'ns, Inc., 691 F.3d 476, 483

(2d Cir. 2012). The district court may “affirm, modify, or reverse a bankruptcy judge’s judgment,

order, or decree or remand with instructions for further proceedings.” Morgan v. Gordon, 450

B.R. 402, 405 (W.D.N.Y. 2011).




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  After briefing the issues presented on appeal, Howard submitted two documents in which he alleges that
the underlying divorce judgment was the product of fraud on the part of Hodgins and her attorneys. See
ECF Nos. 17 19. This matter is beyond the scope of the present appeal, and therefore the Court will not
address it and will not grant any of Howard’s requested relief.
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                                        BACKGROUND

         On January 31, 2018, Howard filed a Chapter 7 bankruptcy petition. Although he initiated

the bankruptcy proceedings pro se, he later obtained counsel. On August 17, 2018, Howard—

with the assistance of counsel—filed a motion to avoid judicial liens Hodgins held on a property

in Rochester. The liens arose from a judgment of divorce that, among other things, awarded

Hodgins $4,500 in attorney’s fees. The Decision and Order pertaining to the divorce indicates that

the attorney’s fees were awarded because Howard “engaged in delaying, dilatory and

obstructionist tactics that unnecessarily and unreasonably prolonged the litigation [and]

unnecessarily increased” Hodgins’s litigation expenses. ECF No. 6-1 at 35. The fees were not

intended to act as “a punishment, but rather as a recognition of and compensation for delays.” Id.

at 34.

         Howard’s motion seeking to avoid the liens contained no developed argument establishing

his entitlement to relief. On September 27, 2018, Judge Warren held a hearing on the motion.

Howard’s counsel indicated that the parties were discussing a possible settlement and requested

an adjournment of the hearing. ECF No. 7 at 2. While he cited one case in passing, as with the

motion itself, Howard’s counsel did not develop any arguments to justify avoidance. See id. at 3-

5. Judge Warren adjourned the hearing, telling the parties that “if you’re going to fight about this

[issue], you need to submit a memorandum of law and brief it.” Id. at 3.

         Judge Warren held a second hearing on October 11, 2018. The parties informed Judge

Warren that they had not reached a settlement, and Howard’s counsel asked to brief his argument

that attorney’s fees do not fall under the applicable exception relating to the avoidance of liens.

ECF No. 8 at 2-3. The parties summarized their opposing positions. Id. at 2-4. Judge Warren

orally denied the motion on two alternative grounds. First, he concluded that Howard “failed to

carry the burden of proof as the movant to demonstrate that these [liens] were avoidable.” Id. at


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4. By this, Judge Warren appears to have meant that Howard failed to sufficiently develop an

argument to show his entitlement to relief. He noted that he viewed Howard’s request to brief the

issue as “an insult” given that the motion had “been pending before the court since August.” Id.

Second, and in the alternative, Judge Warren concluded that Howard was not entitled to relief on

the merits. Judge Warren’s written order reflects these conclusions. See ECF No. 1-2. He noted

that he denied Howard’s request to brief the issue because “the motion had been pending for nearly

two months, in which time [Howard] did nothing.” Id. at 1-2.

       On October 31, 2018, Howard, now acting pro se, filed this appeal. ECF No. 1.

                                          DISCUSSION

       Howard filed a brief with citations to case law and relevant statues, arguing the merits

question of whether the judgment liens are avoidable. ECF No. 15. But Howard does not

acknowledge or raise any argument with respect to Judge Warren’s alternative ground for denying

the motion—that Howard had “failed to carry his burden of proof to demonstrate that the

judgment” was avoidable. ECF No. 1-2 at 2. As the Court reads the order, Judge Warren denied

Howard’s motion in part because Howard failed to meaningfully develop arguments to support his

request for relief: in his motion, Howard did not include a memorandum of law or otherwise

provide any authority to support his position. It was not until “nearly two months” had passed that

Howard even sought to support his motion with a memorandum of law. Id. at 1. As Judge Warren

noted, in the meantime Howard had done “nothing.” Id. at 2.

       Because Howard did not address this alternative ground, he has given the Court no reason

to overturn Judge Warren’s order. Moreover, on its face, Judge Warren’s position is reasonable.

“Federal case law, both at the appellate and trial court level, is clear that courts may decline to

address [conclusory] assertions in toto if they are not adequately presented.” In re Willis, No. 07-

10032, 2008 WL 638243, at *2 (D. Vt. Feb. 29, 2008) (collecting cases). This is because courts


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do not bear the responsibility for “developing a factual record and fleshing out legal

argumentation”; instead, it is “the responsibility of the party requesting relief.” TMTV, Corp. v.

Mass Prods., Inc., 853 F. Supp. 2d 208, 213 (D.P.R. 2012). In this respect, bankruptcy courts are

no different than other federal courts. See, e.g., In re Willis, No. 07-10032, 2008 WL 444547, at

*8 (D. Vt. Feb. 15, 2008) (declining to address argument that was not sufficiently briefed); In re

Schwinn Bicycle Co., 251 B.R. 508, 512 (N.D. Ill. 2000) (same).

       In light of this authority, and absent any argument to the contrary, the Court affirms Judge

Warren’s order. As the moving party, Howard bore the burden of proving that the lien was

avoidable under 11 U.S.C. § 522(f). See In re Armenakis, 406 B.R. 589, 604 (S.D.N.Y. 2009). In

his motion, Howard did not develop an argument to demonstrate his entitlement to relief. At the

first hearing, Judge Warren noted that the issue would need to be briefed. ECF No. 7 at 3. Howard

did not do so before the second hearing, and instead requested additional time to brief the matter.

See ECF No. 8 at 2, 4. Judge Warren then denied that request and Howard’s motion. Id. at 4.

       Based on this record, the Court affirms Judge Warren’s order insofar as he denied

Howard’s motion because Howard failed to sufficiently brief the issues. Cf. Tolbert v. Queens

Coll., 242 F.3d 58, 75 (2d Cir. 2001) (stating that, on appeal, “issues adverted to in a perfunctory

manner, unaccompanied by some effort at developed argumentation, are deemed waived”). As a

result, the Court need not reach the merits of whether the liens are avoidable. See In re Empire

Equities Capital Corp., No. 10 Civ. 5488, 2011 WL 349774, at *4 n.4 (S.D.N.Y. Jan. 31, 2011).




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                                       CONCLUSION

       For the reasons discussed above, the Order of the Bankruptcy Court, dated October 11,

2018, is AFFIRMED. The Clerk of Court is directed to close this case.

       IT IS SO ORDERED.

Dated: June 25, 2019
       Rochester, New York


                                           ______________________________________
                                           HON. FRANK P. GERACI, JR.
                                           Chief Judge
                                           United States District Court




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